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                 UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF IOWA

 IN RE:                                     Chapter 11

 BDC Group Inc.,                            Bankruptcy No. 23-00484

       Debtor-in-Possession.

             ORDER GRANTING MOTION TO CONTINUE (D OC . 504)
       On June 27, 2024, the United States Trustee (UST) filed a Motion to Continue
the telephonic hearing on Ag & Business Legal Strategies’ Final Application for Com-
pensation. (ECF 504). Having reviewed the Motion, the Court finds it appropriate.

IT IS THEREFORE ORDERED:
   1. The Motion is granted.
   2. The Application (ECF 468) is set for hearing on July 12, 2024 at 1:30 p.m. All
      parties wishing to participate may use these dial in instructions:
      1. Call the toll-free number: 1-888-684-8852.
      2. Enter Participant Access Code: 7148063
      3. Enter the Participant Security Code: 0484
      4. After the security code is entered, you will be connected to the conference.
      5. Please identify yourself after you join the conference.

Dated and Entered:


   June 28, 2024                              Thad J. Collins
                                              Chief Bankruptcy Judge


Order Prepared by:                            Approved as to form and content:
Claire R. Davison AT 0014945                  Austin J. Peiffer AT0014402
United States Trustee                         Ag & Business Legal Strategies
